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 4

 5   Attorneys for Michael Rothenberg

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 7                                        IN THE UNITED STATES DISTRICT COURT
 8                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9                                                     OAKLAND DIVISION
10

11     UNITED STATES OF AMERICA,                                 Case No.: 4:20-CR-00266-JST

12                          Plaintiff,                           MOTION TO WITHDRAW AS
                                                                 COUNSEL
13               v.
                                                                 Court:          Courtroom 6, 2nd Floor
14     MICHAEL ROTHENBERG,
                                                                 Hearing Date:   November 8, 2024
15                          Defendant.                           Hearing Time:   9:30 a.m.

16

17   TO: RAVI T. NARAYAN, UNITED STATES ATTORNEY UNDER 28 U.S.C. § 515;
         NICHOLAS J. WALSH, ASSISTANT UNITED STATES ATTORNEY; AND
18       BENJAMIN K. KLEINMAN, ASSISTANT UNITED STATES ATTORNEY.
19            PLEASE TAKE NOTICE that counsel for defendant Michael Rothenberg moves this Court to

20   withdraw from the representation and requests substitute counsel be appointed to represent Mr.

21   Rothenberg. This motion is made pursuant to the Sixth Amendment to the U.S. Constitution, 18

22   U.S.C. § 3006A and the ex parte under seal declarations filed concurrently with this motion. This

23   motion will be heard November 8, 2024 at 9:30 a.m.

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 1                                                      INTRODUCTION
 2            For the reasons that follow, as well as the ex parte under seal declarations filed in connection
 3   with this motion, defense counsel asks this Court to permit him to withdraw.
 4                                                    STATEMENT OF FACTS
 5            Mr. Rothenberg was charged in a 23-count superseding indictment, issued August 20, 2020,
 6   with a variety of fraud offenses. Dkt. 15. The Federal Public Defender was appointed to represent Mr.
 7   Rothenberg on November 16, 2020, after Mr. Rothenberg submitted a form CJA23 financial affidavit
 8   demonstrating he qualified for court appointed counsel under 18 U.S.C. § 3006A. Dkt. 30. An
 9   attorney in the San Francisco Federal Public Defender’s office entered her appearance that same day.
10            On December 8, 2020, this Court related Mr. Rothenberg’s criminal case with a prior civil case
11   before this Court, SEC v. Rothenberg, 4:18-CV-05080-JST. Dkt. 32. As a result of the case being
12   transferred to the Oakland division, the case was reassigned to undersigned defense counsel while he
13   was employed by the Federal Public Defender, who entered his appearance in the case on January 21,
14   2021. Dkt. 37. When undersigned counsel left the Federal Public Defender’s Office in April 2021 to
15   start his own law firm, he continued to represent Mr. Rothenberg through the Criminal Justice Act, 18
16   U.S.C. § 3006A. Dkt. 41.
17            On October 25, 2021, this Court severed Count One, charging Mr. Rothenberg with bank fraud
18   in violation of 18 U.S.C. § 1344, and Count Two, charging false statements to a bank in violation of
19   18 U.S.C. § 1014, from the remainder of the charges in the superseding indictment for trial. Dkt. 101.
20   Counts One and Two proceeded to trial in November 2022, resulting in a mistrial after jurors were
21   deadlocked and could not reach a unanimous decision. Dkt. 205
22            Counts Three through Twenty-Three proceeded to a seven-week jury trial held from October 3,
23   2023 to November 16, 2023. The jury returned a guilty verdict on November 16, 2023. Tr. Vol. 26 at
24   4569:8-4574:13; Dkt. 337, 339.
25            On January 12, 2024, undersigned defense counsel moved this Court to appoint advisory
26   counsel or, alternatively, to withdraw from the representation. Dkt. 366. This Court granted the
27   request on March 4, 2024, and appointed advisory counsel “solely for the limited purpose of
28   reviewing the facts of the case and advising Rothenberg regarding the potential for a claim of

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 1   ineffective assistance of counsel” by undersigned counsel at trial. Dkt. 377. Attorney James Thomson
 2   was appointed as advisory counsel for Mr. Rothenberg on March 6, 2024. Dkt. 379.
 3            Throughout the spring and summer, Mr. Rothenberg’s sentencing was continued a number of
 4   times by stipulation of the parties in order for Mr. Rothenberg to file renewed post-trial motions, and
 5   then as the parties were attempting to resolve issues surrounding the “loss” calculation under the U.S.
 6   Sentencing Guidelines. Dkt. 352, 353, 382, 383, 388, 389, 401, 403. In connection with the “loss”
 7   calculation, the Court authorized the issuance of two subpoenas to permit Mr. Rothenberg to obtain
 8   financial records from Rothenberg Ventures and Pilot Grove Management, LLC, which would be
 9   relevant to the issue of “loss” under the Sentencing Guidelines. Dkt. 392, 393, 397, 398.
10            On October 25, 2024, Mr. Rothenberg filed a motion to continue the sentencing hearing,
11   arguing that he needed time to obtain additional documents relevant to the loss inquiry. Dkt. 407. He
12   also noted that advisory counsel had filed a status report requesting the Court set a status conference
13   to discuss the matter of any potential ineffective assistance of counsel claim, and thus a continuance
14   was also necessary in case Mr. Rothenberg wished to pursue a motion for new trial under Federal
15   Rule of Criminal Procedure 33 on the basis of ineffective assistance of trial counsel. Dkt. 406; see
16   United States v. Jensen, 2010 WL 3809988 (E.D. Wash. Sept. 27, 2010) (granting Rule 33 motion for
17   new trial due to ineffective assistance of counsel).
18            On November 4, 2024, this Court denied the motion to continue sentencing. Dkt. 419. It ruled
19   that it had been “known since at least November 2023 that records concerning the losses suffered by
20   each of Mr. Rothenberg’s victims would be relevant. That post-trial motions were made and decided
21   since that time did not prevent counsel from also pursuing discovery or relieve counsel of the
22   obligation to prepare for sentencing.” Dkt. 419 at 2. It also ruled that the Court was “unaware of any
23   case, and Rothenberg cites none, continuing a sentencing hearing so that a defendant could pursue an
24   ineffective assistance of counsel claim before final judgment has even been entered.” Id.
25            On November 5, 2024, defense counsel met with Mr. Rothenberg in counsel’s office in
26   Berkeley to discuss the sentencing hearing. So as not to reveal attorney-client privileged
27   communications to the government, more details of that meeting and its relevance to this request to
28   withdraw are being provided in concurrently filed ex parte under seal declarations.

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 1                                                        ARGUMENT
 2            The Sixth Amendment guarantees the right of counsel in a criminal case, and under 18 U.S.C. §

 3   3006A(c), a “court may, in the interest of justice, substitute one appointed counsel for another at any

 4   stage of the proceedings.” Based on the facts provided in the under seal ex parte declarations filed

 5   concurrently with this motion, the Court should permit undersigned counsel to withdraw and appoint

 6   new counsel to represent Mr. Rothenberg.

 7            Northern District Criminal Local Rule 44-2(b) states that “An attorney who wishes to withdraw

 8   must file a motion to withdraw, showing good cause for allowing the attorney to withdraw.” Several

 9   factors are considered in a “motion for withdrawal, including: (1) the reasons counsel seeks to

10   withdraw; (2) the possible prejudice that withdrawal may cause to other litigants; (3) the harm that

11   withdrawal might cause to the administration of justice; and (4) the extent to which withdrawal will

12   delay resolution of the case.” Atkins v. Bank of Am., N.A., 3:15-CV-00051-MEJ, 2015 WL 4150744,

13   at *1 (N.D. Cal. July 9, 2015).

14            Undersigned counsel respectfully requests this Court permit him to withdraw for the reasons

15   detailed in the ex parte under seal declarations filed with this motion.

16                                                       CONCLUSION
17            For the reasons above and in the under seal ex parte declarations, counsel requests this Court

18   permit him to withdraw.

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             Dated:       November 7, 2024                          Respectfully submitted,
21
                                                                    MOEEL LAH FAKHOURY LLP
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23
                                                                    Hanni M. Fakhoury
24                                                                  Attorneys for Michael Rothenberg
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